                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                                No. 16-CR-73-LRR
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 LUCYNDA JO MANTERNACH,                RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEA
                     ____________________

                        I. INTRODUCTION AND BACKGROUND
         On September 14, 2016, a one-count Indictment was filed against Defendant
Lucynda Jo Manternach.           On November 22, 2016, Defendant appeared before
United States Chief Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1
of the Indictment.        On November 22, 2016, Judge Scoles filed a Report and
Recommendation in which he recommended that Defendant’s guilty plea be accepted. No
objections to Judge Scoles’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Scoles’s recommendation to accept Defendant’s
plea in this case.
                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:

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             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
November 22, 2016, and ACCEPTS Defendant’s plea of guilty in this case to Count 1 of
the Indictment.
      IT IS SO ORDERED.
      DATED this 7th day of December, 2016.




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